                       Case:18-01839-swd           Doc #:23 Filed: 08/13/18      Page 1 of 1
FORM odsms13 (07/16)
                                          United States Bankruptcy Court
                                           Western District of Michigan
                                               One Division Ave., N.
                                                     Room 200
                                              Grand Rapids, MI 49503


IN RE: Debtor (name used by the debtor in the last 8 years,
including married, maiden, trade, and address):
                                                                    Case Number 18−01839−swd
          Alisa Byrnes
          2202 Lagoon Drive                                         Chapter 13
          Okemos, MI 48864
          SSN: xxx−xx−9904                                          Honorable Scott W. Dales
                                                      Debtor



                                    ORDER DISMISSING CHAPTER 13 CASE


                                       PRESENT: Honorable Scott W. Dales
                                       Chief United States Bankruptcy Judge


   The Debtor filed a motion in accordance with 11 U.S.C. § 1307(b) seeking to dismiss this case, and it
appears that the case has not been converted previously under 11 U.S.C. § 706 or § 1112,

   NOW, THEREFORE, IT IS HEREBY ORDERED that:

         1. This chapter 13 case shall be dismissed at noon on the seventh day after entry of this
         Order unless, before that time, a party in interest files opposition to dismissal or a request for
         a hearing to consider the revesting of estate property under 11 U.S.C. § 349(b)(3).

         2. Upon dismissal all further stay of proceedings shall be hereby terminated as to the Debtor

         3. That Barbara P. Foley shall file her final report and account.

         4. That all orders which have been entered, if any, requiring the employer of the Debtor to
         submit monies to the chapter 13 Trustee are hereby terminated as of the date of entry of this
         Order.

         5. If a party in interest timely opposes dismissal or files a request for hearing as
         contemplated in paragraph 1 of this Order, the Clerk shall schedule a prompt hearing.

   IT IS FURTHER ORDERED that the Clerk shall forthwith serve a copy of this Order pursuant to Fed. R.
Bankr. P. 9022 and LBR 5005−4 upon Debtor, attorney for Debtor, Barbara P. Foley, chapter 13 trustee,
and all parties listed on the Debtor's mailing matrix.


                                                               BY THE COURT
Dated:     August 13, 2018
